Case 3:16-md-02741-VC Document 648-29 Filed 10/27/17 Page 1 of 7




           EXHIBIT 29
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    Case 3:16-md-02741-VC Document 648-29 Filed 10/27/17 Page 2 of 7
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    Case 3:16-md-02741-VC Document 648-29 Filed 10/27/17 Page 3 of 7
.
    Case 3:16-md-02741-VC Document 648-29 Filed 10/27/17 Page 4 of 7
.
    Case 3:16-md-02741-VC Document 648-29 Filed 10/27/17 Page 5 of 7
.
    Case 3:16-md-02741-VC Document 648-29 Filed 10/27/17 Page 6 of 7
.
    Case 3:16-md-02741-VC Document 648-29 Filed 10/27/17 Page 7 of 7
